Case 6:23-cv-06110-SOH Document 30 _~ Filed 04/23/24 Page 1 of 9 PagelD #: 135

In the United States District Court
Western District Of Arkansas
Division

Joie G Ia Finley
OLYIS 9 102.3973 /UZUTA

(In the space above enter your full name and Prison ID
Number, if any. Do not include your Social Security Number).

Case
-against- No. 6:23cv6110

(To be filled out by Clerk’s

. Office only)
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Conter(s (Cte) No

(In the space ‘above enter the full name of each Defendant)

NOTICE

Do not attach exhibits, affidavits, grievances, witness
statements, or any other materials to your Complaint. Any
materials other than the Complaint will be returned to you
unfiled by the Clerk’s Office.

I. PLAINTIFF INFORMATION

Jaume Glemp fm ley Dogsom
“Name (First, Middle, Last) Aliases

OLYISY LO623953/ 4 734

Prisoner ID #, if any
S4im 2 canty Defl¢a fron

Place of Detention or Incarceration

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735 Soot eceley  penlen

Address (/f detained, facility addregs)

Sal me Coonty “Ak ke gn SAS 7Z018

County, City State Zip Code

Il. PRISONER STATUS

Check all boxes that apply to you:
Pretrial detainee (in custody pending new charges)

(] Convicted and serving a sentence. Provide Date of Conviction

L] Convicted and detained pending a parole violation.

C) Convicted but in custody on new charges.
C) Other. Explain.

Il. DEFENDANT(S) INFORMATION

Please list the following information for each defendant. If the correct information is not provided,
it could result in the delay or prevention of service. If you need more space for additional
defendants, list the additional defendants on another piece of paper, providing the same
information. Do not list witnesses. The jail or detention center is a building and cannot be sued.

Defendant |: tor KO V mM oh cal S tal EF

Name (Last, First)

webs LL L DretrLebe )

Current Job Title

3Ssou Alhoyt Pike

Current Work Address

LCoarlare) Co Hot 5 prmgs AK ZIG 13

County, City State i Zip Code

Defendant 2: tor w) Ke Y Don tral Shu EL

Name (Last, First)

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bontral  provrcdber

Current Job Title

3S ¢y a@lbost Pike

Current Work Address

Car lon COON ty hbot- opi gS PK 17/413
County, City State Zip Code

To fw key .
Defendant 3: jleAdt sa [ Health Dievr der J _WYe L/ £1

Name (Last, First)

medial Hee /+tH

Current Job Title

3564 e¢/ Bet Pike

Current Work Address

Garland Ce HotsPimes phk 7/9/83

County, City State Zip Code

Defendant 4:

Name (Last, First)

Current Job Title

Current Work Address

County, City State Zip Code

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IV. STATEMENT OF CLAIMS

State every ground on which you claim that one or more of the Defendants violated your federal
constitutional rights. List each claim separately (e.g., excessive force, denial of medical care,
access to the Courts, conditions of confinement, etc.). If you have more than three separate claims,
you may attach additional sheets of paper, providing the same information for each claim. You
may attach no more than one additional sheet for each claim.

Claim Number 1:

Place(s) of :
occurrence: Cu ‘lin Leunty Rotten ton ley 4r

Cm wp obec t
Date(s) of occurrence: bez lS JZP283 — GCipgber 1S 2o2>

Name of Each Defendartt Involved:

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Mur 90s lor tocw Koy me cdveal),

State which of your federal constitutional rights (e.g., excessive force, denial of medical care,
conditions of confinement, etc.) or federal statutory rights have been violated:

Doasal o§ medical Carel Penral o§ Dettra l care
Denral oF BP tical cereo/

State here briefly the FACTS that support your case. Describe how EACH DEFENDANT was
personally involved in the alleged wrongful actions, state whether you were physically injured as
a result of those actions, and if so, state your injury and what medical attention was provided to
you.

FACTS! (4 1G3 than S por ted to St Ulcenks EK BY
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With regard to claim 1, are oy) suing Defehdant(s) in ‘hsdhesithetr

C] ~~ Official capacity only (An official capacity claim is the same as suing the governmental
entity the Defendant(s) work(s) for and requires proof that a custom, policy, or
widespread practice of the governmental entity caused the violation).

7 Individual capacity only (An individual capacity claim is one that seeks to hold an

individual liable for his own actions taken in the course of his duties).
Both Official and Individual capacity

If you_are_ asserting an_ official capacity claim, please describe the custom, policy, or

widespread practice that you believe caused the violation of your constitutional rights.

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Claim Number 2:

Place(s) of
occurrence:

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V. RELIEF

If you are asking for money damages from the named Defendant(s), indicate below the types of
damages you are seeking:

oa Compensatory damages (money damages designed to compensate for injuries, such as
physical pain and suffering, etc., that are caused by the deprivation of constitutional

ights)

oO Panne damages (designed to punish a defendant for engaging in misconduct and to
deter a Defendant and others from engaging in such misconduct in the future).
Other relief (describe below).

State briefly what you want the Court to do for you. Make no legal arguments. Cite no cases or
statutes. If you are requesting money damages, include the amounts of any actual damages and/or
punitive damages you are claiming. Explain why you believe you are entitled to those damages.

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VI. PRISONER’S LITIGATION HISTORY

Have you brought any other lawsuits in state or federal Court while a es CJ] No

prisoner? [

If yes, how many?

Have you brought any other lawsuits in state or federal Court dealing with [1] Yes [Kio
the same facts as this case?

]
If yes, how many? /))

Number each different lawsuit below and include the following:

e Name of case (including defendants’ names), Court, and docket number

e Nature of claim made

e How did it end? (For example, if it was dismissed, appealed, or is still pending, explain
below.)

e The “three strikes rule” bars a prisoner from bringing a civil action or an appeal without
paying the filing fee if that prisoner has

‘on three or more prior occasions, while
incarcerated or detained in any facility brought an action or appeal... that was dismissed
on the grounds that it is frivolous, malicious, or fails to state a claim upon which relief may
be granted, unless the prisoner is under imminent danger of serious physical injury.” 28
U.S.C. § 1915(g). To the best of your knowledge, indicate if any of your cases were
dismissed because they were frivolous, malicious, or failed to state a claim upon which
relief could be granted, had a strike assessed, or were dismissed because of the “three
strikes rule.”

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VII. PLAINTIFF’S DECLARATION AND SIGNATURE

I agree to provide the Clerk's Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk's
Office shall result in the dismissal of my case.

I declare under penalty of perjury (18 U.S.C. § 1621) that the foregoing is true and correct.

Plaintiff must sign and date the complaint and provide prisan identification number and prison
address. Ny L,
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ted le Signature
Seite GlEM NM binley Cy

Printed Name (First, MI, Last)

019195 1 023 G22 J puttire

Prison Identification #, if any.

725 Sovtl poedly bentan Ak  FW2Zol8

Prison Address City State Zip Code

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